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                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                        MAY 27 2022
                                                                    MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
DAVID SUSKI; et al.,                           No.    22-15209

                Plaintiffs-Appellees,          D.C. No. 3:21-cv-04539-SK
                                               Northern District of California,
 v.                                            San Francisco

COINBASE, INC.,                                ORDER

                Defendant-Appellant,

and

MARDEN-KANE, INC.; COINBASE
GLOBAL, INC.,

                Defendants.

Before: BYBEE and HURWITZ, Circuit Judges.

      The motion for a stay pending appeal (Docket Entry No. 16) is denied. See

Nken v. Holder, 556 U.S. 418, 433-34 (2009). The request for an administrative

stay to permit en banc reconsideration of Britton v. Co-op Banking Group, 916

F.2d 1405 (9th Cir. 1990) is denied.

      The existing briefing schedule remains in effect.




AC/MOATT
